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                               Exhibit 48



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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Kenyon, James                                                       March 25, 2008

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                       UNITED STATES DISTRICT COURT

              FOR THE DISTRICT OF MASSACHUSETTS



    IN RE:   PHARMACEUTICAL INDUSTRY         MDL NO. 1456

    AVERAGE WHOLESALE PRICE LITIGATION       Civil Action:

                                             01-CV-12257-PBS

    THIS DOCUMENT RELATES TO U.S.            Judge Patti B. Saris

    Ex rel. Ven-A-Care of the Florida        Magistrate Judge

    Keys, No. 06-CV-11337-PBS                Marianne B. Blower

                                         /




         The Videotaped Deposition of JAMES KENYON,

         Taken at 2860 Eyde Parkway,

         East Lansing, Michigan,

         Commencing at 4:13 p.m.,

         Tuesday, March 25, 2008,

         Before Cynthia A. Chyla, CSR 0092.




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  1
      APPEARANCES:
  2

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                                                                             Page 14
 1          Q.      Did you compile documents in response to the
 2    subpoena?
 3          A.      No.
 4          Q.      Did someone --
 5          A.      Well, I take that back.             I did have some
 6    documents which I supplied.
 7          Q.      Prior to seeing that subpoena, had anyone
 8    told you to withhold from destroying documents that
 9    might be related to AWP matters or drug pricing issues?
10          A.      No.
11          Q.      Since being issued that subpoena, has anyone
12    instructed you to withhold from destroying documents
13    relating to drug pricing issues?
14          A.      No.
15          Q.      In your role in the pharmacy audit -- is it
16    a department or section?
17          A.      Program investigation section is the audit
18    section I currently am in.
19          Q.      Okay.     I'll refer to that as the audit
20    section just to --
21          A.      That's fine.
22          Q.      -- dumb it down for my sake.


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                                                                             Page 15
 1                              Did you also audit dispensing fees?
 2          A.      We looked at the whole claim that was billed
 3    to the pharmacy.
 4          Q.      Did you ever compare dispensing fees to what
 5    it would cost the provider to actually dispense a drug?
 6          A.      No.
 7          Q.      Are you -- I'm sorry.
 8                              What's the current dispensing fee
 9    for pharmacists in Michigan?
10          A.      The current dispensing fee depends whether
11    there's long-term care or whether they're a regular
12    pharmacy.     It's $2.50 for standard retail pharmacy;
13    2.75 for the long-term care.
14          Q.      At one time the dispensing fees were greater
15    than that; is that right?
16          A.      Correct.
17          Q.      About a dollar greater than that?
18          A.      Roughly.
19          Q.      Do you know why they were decreased?
20          A.      No.
21          Q.      Do you believe that a $2.50 dispensing fee
22    is adequate to cover all the pharmacist's cost in


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                                                                             Page 16
 1    dispensing drugs?
 2                              MR. HENDERSON:        Objection.
 3           A.     I have not done any analysis.               I couldn't
 4    say.
 5    BY MR. GABEL:
 6           Q.     In your experience as a pharmacist, and
 7    although this was a number of years ago, do you believe
 8    that $2.50 would be adequate to cover the cost you
 9    would incur on dispensing a drug?
10                              MR. HENDERSON:        Objection to form.
11           A.     I had nothing to do with billing.                  I really
12    couldn't evaluate that on an analysis.
13    BY MR. GABEL:
14           Q.     Okay.     With respect to the dispensing fee
15    for Michigan, do you know if it is intended to cover
16    overhead for drugs?
17           A.     Not having done the analysis, I do not know.
18           Q.     If I were to ask you whether any particular
19    elements were to be covered by the dispensing fee, is
20    it right that you couldn't tell me just because that's
21    not something you've analyzed?
22           A.     Correct.


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                                                                              Page 17
 1          Q.      Who determines what the dispensing fee is to
 2    be for Michigan Medicaid participants?
 3          A.      The dispensing fees I've seen have been
 4    mandated by the legislature.
 5          Q.      Do you know how they arrived at those
 6    dispensing fee numbers?
 7          A.      I do not know the entire process, no.
 8          Q.      I'd like to show to you -- do you have the
 9    stack of documents we used in the previous deposition.
10                              MR. MATUS:      I don't have the actual.
11    I have my stack.
12                              MR. GABEL:      Do you?
13                              THE COURT REPORTER:          No.      I hope the
14    witness didn't take them.
15                              MR. GABEL:      I hope so as well.
16                              MR. MATUS:      She may have.           You can
17    use my set.
18                              MR. GABEL:      We should track her
19    down.    You want to give her a -- let's go off the
20    record for just a second.
21                (Discussion had off the record.)
22                              MR. GABEL:      We can go back.


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                                                                             Page 49
 1    along, your rights are reserved.
 2                              MR. GABEL:      Thank you.
 3                              MR. HENDERSON:        The United States
 4    does not agree with you.           But let me ask a few
 5    questions of Mr. Kenyon.
 6    EXAMINATION BY MR. HENDERSON:
 7          Q.      Mr. Kenyon, you were asked a few questions
 8    about Exhibit Number 657 which was Sandy Kramer's March
 9    1994 report, and specifically you were asked a question
10    or two about some language on page 4 also marked as
11    MSA 33.
12          A.      Correct.
13          Q.      Now -- and you were asked questions about
14    the sentence saying "Payers are able to have low
15    dispensing fee rates if they have high EAC screens."
16                              Mr. Kenyon, are you aware of any
17    policy by the State of Michigan to increase payments
18    under the EAC component of its reimbursement
19    methodology in order to make up for inadequate
20    dispensing fees?
21          A.      No.
22          Q.      Does Michigan have any policy to -- withdraw


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